Case No. 1:19-cv-02889-CMA-KLM         Document 6      filed 10/09/19   USDC Colorado         pg
                                           1 of 6




 DISTRICT COURT, ADAMS COUNTY, COLORADO
 1100 Judicial Center Drive
 Brighton, Colorado, 80601              DATE FILED: August 30, 2019 1:51 PM
                                                         FILING ID: 10705BC4C0E9F
                                                         CASE NUMBER: 2019CV31378

 Plaintiff: KEASHA TENNELL,

 v.

 Defendants: AMAZON.COM SERVICES, INC.; AMAZON
 WEB SERVICES, INC.;

 And
                                                                  ▲ Court Use Only ▲
 CHRIS RILEY.
                                                                  Case No.
 Counsel for Plaintiff:
 Casey Leier, #45155                                              Courtroom:
 William S. Finger, #7224
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                           COMPLAINT AND JURY DEMAND


        Plaintiff, Keasha Tennell (“Ms. Tennell”), by and through counsel, Finger Law P.C.,
 submits this Complaint and Jury Demand (“Complaint”) against Defendants Amazon.Com
 Services, Inc., Amazon Web Services, Inc., (“Amazon” or “Defendant”) and Chris Riley (“Mr.
 Riley” or “Defendant) as follows:

                                  I.     INTRODUCTION

         1.       This is an action for violations of the Colorado Anti-Discrimination Act
 (“CADA”), C.R.S. § 24-34-402 for sex (female) and race (African-American) discrimination, as
 well as retaliation.

      2.       From 2016 to 2018, Ms. Tennell, a young African-American woman, worked for
 Amazon’s fulfillment center located in Adams County, Colorado.




                                       EXHIBIT A
Case No. 1:19-cv-02889-CMA-KLM            Document 6        filed 10/09/19     USDC Colorado         pg
                                              2 of 6




       3.      On or about March 11, 2018, Ms. Tennell was terminated from her position
 wrongfully based on sex, race, and/or for engaging in protected activity. Prior thereto, during her
 employment, she was harassed by a male co-worker, Chris Riley.

         4.     As a result of Defendant’s illegal conduct, Plaintiff suffered loss of wages and
 benefits, humiliation, emotional distress, loss of enjoyment of life, and other significant injuries,
 damages and losses.

                       II.     PARTIES, JURISDICTION, AND VENUE

       5.       Ms. Tennell is and was at all relevant times a resident of Colorado, in Adams,
 Arapahoe, and/or Denver counties.

          6.       Amazon is a web services and e-retailer. It conducts a significant portion of its
 business, and employs a significant portion of its employees, including Ms. Tennell, in Colorado,
 at its fulfillment center located at 22205 E 19th Ave, Aurora, CO 80019 (Adams County).

       7.      Mr. Riley is and was at all relevant times a resident of Colorado and was an
 employee of Amazon at the Adams County fulfillment center.

          8.       Venue is proper in this Court pursuant to Colo. R. Civ. P. 98 because this action
 arises, in part, out of events that occurred in Adams County.

        9.       Jurisdiction of this Court is invoked pursuant to C.R.S. § 13-1-124.

        10.     This action is authorized and instituted pursuant to the Colorado Anti-
 Discrimination Act, § 24-34-402, et seq.

         11.     Plaintiff was terminated on or about March 11, 2018. She timely filed a Charge of
 Discrimination with the Colorado Civil Rights Division on June 29, 2018. She received a Right
 to Sue letter on June 6, 2018. Plaintiff files the instant complaint within 90 days of the right to
 sue letters. This case is timely filed.

                               III.    GENERAL ALLEGATIONS

        12.     All prior paragraphs are incorporated herein.

        13.   Ms. Tennell is a member of protected classes based on sex (female) and race
 (African-American).

        14.     Ms. Tennell worked as a Stocker at the Amazon fulfillment center.

        15.     Mr. Riley, a white male, worked as a Stocker at the Amazon fulfillment center.

        16.    Ms. Tennell’s job duties involved stocking shelves with merchandise, utilizing a
 scanner to mark and track the merchandise, and operating machinery to move items.

                                                  2
Case No. 1:19-cv-02889-CMA-KLM           Document 6        filed 10/09/19    USDC Colorado        pg
                                             3 of 6




       17.      Ms. Tennell during the course of her employment came to know Mr. Riley as a
 co-worker.

         18.    Mr. Riley, and one or more other male co-worker, began harassing Ms. Tennell
 during the course of her employment.

        19.     Mr. Riley would stare at Ms. Tennell’s body, particularly focusing on her behind
 and her breast area, to a level that was clearly and obviously inappropriate.

         20.    Mr. Riley would make comments, both verbally and by text message and/or
 email, to Ms. Tennell, which were sexual and inappropriate in nature.

         21.     Mr. Riley would make inappropriate comments to Ms. Tennell that she was not
 cut out for the job; that he would get her fired; ‘betting’ with other, male/white co-workers that
 she would be fired; and/or comments to that effect.

        22.    On or about March 18, 2018, on a Friday at the beginning of the shift in the
 morning, Ms. Tennell became upset with Mr. Riley and other male co-workers’ comments,
 because they were again harassing her.

        23.     Ms. Tennell first went to her team leader/supervisor, but this supervisor did
 nothing.

        24.      Ms. Tennell then went to Human Resources and asked to speak to a
 representative.

         25.    Ms. Tennell stated that she wanted to file a complaint of harassment to Human
 Resources. She specifically stated that she was uncomfortable with male co-workers and stated
 that the harassment was of an on-going nature.

        26.    The Human Resources employee did not show interest in assisting Ms. Tennell.
 The employee did not appear to take notes or attempt to determine if she was in physical danger
 (Mr. Riley had appeared to show sexual interest in Ms. Tennell).

        27.     Instead, the Human Resources employee informed Ms. Tennell to go into a room
 and write out her concern on a piece of paper.

        28.     Ms. Tennell wrote out a brief statement.

       29.     After Ms. Tennell was finished writing out a statement, the Human Resources
 employee continued to show no serious interest in the concern.

       30.    Ms. Tennell was told that she should send her harassment concern to the Human
 Resources employee after her shift was over.



                                                 3
Case No. 1:19-cv-02889-CMA-KLM            Document 6       filed 10/09/19     USDC Colorado            pg
                                              4 of 6




        31.     Ms. Tennell was ordered back to work on the production floor.

        32.    She was told not to send the statement at the time because “cell phones are not
 allowed on the production floor.”

       33.    Ms. Tennell was then told that she would have a meeting with the on-site
 manager, however, after lunch time, no meeting had yet occurred.

       34.    Ms. Tennell continued to be harassed throughout the morning. She observed the
 male employees pointing and laughing at her.

        35.     In the afternoon, Ms. Tennell approached the manager to attempt to discuss her
 concerns.

        36.     Ms. Tennell asked the manager if she could take the remainder of the shift off
 because of the harassment.

         37.    The manager stated that Ms. Tennell would not be granted time off to go home
 and to go back to work and wait for a meeting at another time.

         38.    After hearing that she would need to go back to the area with the males who had
 been harassing her, Ms. Tennell continued to feel uncomfortable around them and again stated
 that she needed to leave the area.

        39.    Ms. Tennell was told by the manager that when she left, she should leave her
 badge with the security guard at the front desk. She did so.

       40.     Just one or two days later, on a Saturday or Sunday, a different Human Resources
 employee called Ms. Tennell and informed her that she was terminated.

                 IV.       STATEMENT OF CLAIMS FOR RELIEF
                                   FIRST CAUSE OF ACTION
  (Violation of Colorado Anti-Discrimination Act, § 24-34-402, against Defendant Amazon, for
  discriminatory or retaliatory termination and discriminatory, harassing, and/or retaliatory terms
                                   and conditions of employment)

       41.      Plaintiff hereby incorporates by reference the previous paragraphs of this
 Complaint.

        42.     Ms. Tennell at all times performed her job duties at and above a satisfactory level.

        43.    Amazon treated Ms. Tennell less favorably than similarly situated white and/or
 male counterparts in the terms and conditions of employment.

        44.     Amazon allowed a hostile and harassing work environment to persist against Ms.
 Tennell.


                                                 4
Case No. 1:19-cv-02889-CMA-KLM             Document 6       filed 10/09/19     USDC Colorado          pg
                                               5 of 6




        45.     Ms. Tennell was forced to work in said harassing environment, and therefore was
 subjected to a term or condition of employment which other white and/or male employees were
 not subjected to.

        46.    Amazon terminated Ms. Tennell, against subjecting her to an adverse employment
 action which white and/or male employees were not similarly subjected to.

        47.    In the alternative or in addition to the aforementioned reasons, Amazon
 terminated Ms. Tennell in retaliation for her complaint to Human Resources, a protected activity
 under CADA.

       48.      Amazon’s articulated reasons for Ms. Tennell’s termination is merely pretext for
 unlawful discrimination.

           49.    Defendant is liable for the acts and omissions of its agents and employees.

         50.    Defendant either directly or by and through agents, discriminated against Plaintiff
 on the basis of her sex, race, and/or in retaliation for her protected activity and caused her
 injuries, damages, and losses.

           51.    Defendant’s conduct was the proximate cause of Plaintiff’s injuries, damages, and
 losses.

         52.    As a consequence of Defendant’s violation of the CADA, Plaintiff has sustained
 significant economic and consequential damages, including wage and benefit loss, retirement
 income loss, reputational injury, and emotional upset and anxiety.

                                   SECOND CAUSE OF ACTION
           (Tortious Interference with an Employment Relationship against Defendant Riley)

           53.    Ms. Tennell was in an employment relationship with Defendant Amazon.

         54.    Mr. Riley, a third party to the employment relationship, engaged in conduct which
 interfered with Ms. Tennell’s employment. Namely, harassment in the form of verbal comments
 of a sexual and/or inappropriate nature, written comments of a sexual and/or inappropriate
 nature, and physical actions in the workplace of a sexual and/or inappropriate nature.

         55.     Mr. Riley’s actions caused the deterioration and termination of the employment
 relationship of Ms. Tennell and Amazon.

         56.    As a consequence of Defendant’s tortious actions, Plaintiff has sustained
 significant economic and consequential damages, including wage and benefit loss, retirement
 income loss, reputational injury, and emotional upset and anxiety.


           WHEREFORE, Plaintiff respectfully requests that this Court enter judgment in their


                                                   5
Case No. 1:19-cv-02889-CMA-KLM             Document 6        filed 10/09/19    USDC Colorado            pg
                                               6 of 6




 favor and against Defendants, and award Plaintiff all relief as allowed by law, including, but not
 limited to the following:

        •        Declaratory relief and injunctive relief, as appropriate;

         •      Economic damages in the form of back pay, future pay loss and loss of retirement
 benefit pay as established at trial;

       •        Compensatory damages, including, but not limited to those for future pecuniary
 and non-pecuniary losses, emotional pain, suffering, inconvenience, mental anguish, loss of
 enjoyment of life, and other non-pecuniary losses;

        •        Punitive damages, as deemed appropriate by a jury;

        •        Liquidated damages for all claims as allowed by law;

        •        Pre-judgment and post-judgment interest at the lawful rate;

        •        Attorney’s fees and costs;

        •        Other costs Plaintiff has incurred as a result of the conduct of the Defendants; and

        •        Such further relief as justice requires and law allows.

 PLAINTIFFS DEMAND A JURY TRIAL ON ALL ISSUES SO TRIABLE.

            DATED this 30th day of August, 2019.
                                                FINGER LAW, P.C.

                                                 /s/ Casey Leier
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                                                   6
